                                               Certificate Number: 00134-AZ-CC-033221413


                                                             00134-AZ-CC-033221413




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 7, 2019, at 3:26 o'clock PM MDT, Mike K. Bowman
received from Cricket Debt Counseling, an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   August 7, 2019                         By:      /s/Ursula Childs


                                               Name: Ursula Childs


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).


Case 2:19-bk-09891-DPC        Doc 2 Filed 08/07/19 Entered 08/07/19 16:03:55              Desc
                              Main Document    Page 1 of 1
